        Case 1:14-cr-00068-LGS
          Case  1:14-cr-00068-KBF Document
                                   Document359-8  Filed02/13/18
                                            314 Filed   06/28/19 Page
                                                                   Page
                                                                      1 of1 2of 2
 EXHIBIT H TO 2255 MOTION                                                     USDC SDNY
                                                                              DOCUMENT
                                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                  DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                 DATE FILED: February 13, 2018
------------------------------------------------------------------------- X
                                                                          :
UNITED STATES OF AMERICA                                                  :
                                                                          :
                                                                          :        14 Cr. 68 (KBF)
                           -v-                                            :
                                                                          :             ORDER
                                                                          :
ROSS WILLIAM ULBRICHT,                                                    :
                                                 Defendant.               :
                                                                          :
------------------------------------------------------------------------ X

KATHERINE B. FORREST, District Judge:

        The Court has received a letter motion dated February 12, 2018, requesting that

various documents and records be added to the public docket. (ECF No. 313.)

        The Court notes that the record in this matter has long been closed, and that

the appeal to the Second Circuit is complete. The appeal to the Supreme Court relies

on the record as it was. In any event, this Court is particularly careful to ensure that

all matters generally publicly filed have been.

        While voir dire transcripts are not routinely publicly filed, the Court GRANTS

defendant’s first (unopposed) request to file the transcript of the in-court jury voir dire.

The transcript will be posted separately.

        As to defendant’s second and third requests, the Court notes that there were

numerous conferences (again, as fully reflected in transcripts on the public docket)

whereby every aspect of jury selection was placed fully before the parties, discussed,

and agreed to. The Juror Questionnaire was sent numerous times to both the

Government and the defendant for review and comment. The first page of the
      Case 1:14-cr-00068-LGS
        Case  1:14-cr-00068-KBF Document
                                 Document359-8  Filed02/13/18
                                          314 Filed   06/28/19 Page
                                                                 Page
                                                                    2 of2 2of 2



questionnaire stated in all caps and bold that “All information contained in this

questionnaire will be kept confidential and under seal.” Neither party noted any

objection. However, to dispel a misconception, the jury in this case was not

“anonymous.” Counsel of record always had access to the names and addresses of the

full venire panel.

      Accordingly, defendants’ second and third requests are DENIED.


      SO ORDERED.

Dated:       New York, New York
             February 13, 2018




                                                  KATHERINE B. FORREST
                                                  United States District Judge




                                           2
